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 1                       
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                 NV Bar #7437
 6
              Attorney for Plaintiff
 7
 8                                   UNITED STATES DISTRICT COURT
 9                                          DISTRICT OF NEVADA
10   ROBERT L. GOLDMAN;                                    Case No.:   2:19-cv-2227-JAD-BNW
11                             Plaintiff,
                                                           AMENDED STIPULATION & ORDER
12   v.                                                    REGARDING BRIEFING SCHEDULE
                                                           ON VIGILANT INSURANCE
13   VIGILANT INSURANCE COMPANY, a New                     COMPANY’S MOTION FOR
     York corporation and member of the CHUBB              SUMMARY JUDGMENT
14   GROUP OF INSURANCE COMPANIES;
     DOES 1 through 100, inclusive; and ROE
15   CORPORATIONS I through 100, inclusive,                (Fourth Request)

16                             Defendants.                         ECF Nos. 45, 46

17
               Pursuant to LR II 16-1, 26-1 (b), 26-3, and 26-4, and FRCP 16.1 and 26, PLAINTIFF
18
     ROBERT L. GOLDMAN (“Plaintiff”) and DEFENDANT VIGILANT INSURANCE
19
20   COMPANY (“Defendant”) (collectively, the “Parties”), by and through their respective counsel,

21   hereby stipulate and agree to extend the time for Plaintiff to respond to Vigilant Insurance

22   Company’s Motion for Summary Judgment (ECF No. 33). Specifically, Plaintiff shall have
23   through and including November 15, 2021 with which to file its Opposition brief. The . . .
24   extension is necessary due to delays associated with Plaintiff counsel’s inability to access his
25   electronic mail system and files upon returning to the United States earlier this week due to a
26   changed Microsoft security protocol that occurred while he was abroad on a mission trip, an
27
     ...
28
     ...
        Case 2:19-cv-02227-JAD-BNW Document 47
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                                                     11/08/21 Page 2 of 2




 1   emergency hearing set in a State-court matter on an Order Shortening Time tomorrow
 2   (November 8, 2021) along with an expert deposition to be taken in that matter following the
 3   hearing, and depositions of Plaintiff’s geotechnical expert (Bob Thomsen) and general
 4
     contracting expert (Randall “Duke” Phelps) on November 10 and 12, 2021, respectively.
 5
 6           DATED this 8th day of November, 2021.
 7      MARQUIZ LAW OFFICE, P.C.                     LEWIS BRISBOIS BISGAARD & SMITH LLP
 8
        By: /s/ Craig A. Marquiz                     By: /s/ Cheryl A. Grames
 9           CRAIG A. MARQUIZ                          ROBERT W. FREEMAN
             3088 Via Flaminia Court                   PAMELA L. McGAHA
10           Henderson, NV 89052                       CHERYL A. GRAMES
11           Attorney for Plaintiff                    6385 S. Rainbow Boulevard, Suite 600
                                                       Las Vegas, Nevada 89118
12                                                     Attorneys for Defendant
13
                                                    BROENING OBERG WOODS & WILSON P.C.
14
                                                     By: /s/ Jason P. Kasting
15
                                                        ROBERT T. SULLIVAN
16                                                      JASON P. KASTING
                                                        2800 North Central Avenue, Suite 1600
17
                                                        Phoenix, AZ 85004
18                                                      Attorneys for Defendant
19
                                           ORDER
20
        Based on the parties’ amended stipulation [ECF No. 46] and good cause appearing, IT IS
21    HEREBY ORDERED that deadline to file the opposition to the motion for summary judgment
22    [ECF No. 33] is extended to November 15, 2021, and the original stipulation [ECF No. 45] is
      DENIED as moot.
23
24                                       _________________________________
                                         _______________________________________
                                         U.S. District
                                         UNITED        Judge Jennifer
                                                   STATES             A. Dorsey
                                                              MAGISTRATE      JUDGE
25
                                         Dated: November 9, 2021
26                                       Nunc pro tunc to November 5, 2021
27
28



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